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     [Submitting Counsel on Signature Page]
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                            IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11
   IN RE: SOCIAL MEDIA ADOLESCENT                           No. 4:22-md-03047
12
   ADDICTION/PERSONAL INJURY
13 PRODUCTS LIABILITY LITIGATION                            MDL No. 3047

14                                                          MOTION FOR LEAVE TO FILE
                                                            COMPLETE EVIDENCE IN SUPPORT
15 This Document Relates To:                                OF PLAINTIFFS’ LETTER BRIEF
                                                            REGARDING PERSONAL INJURY
16 N.K., filed on behalf of minor S.K. v. META              BELLWETHER POOL
   PLATFORMS, INC., et al. | Case No. 23-CV-
17 1584
                                                            Judge: Hon. Yvonne Gonzalez Rogers
18
                                                            Date: June 13, 2025
19                                                          Time: 9 a.m.
                                                            Courtroom: 1
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           PLAINTIFFS’ MOTION FOR LEAVE TO FILE COMPLETE EVIDENCE ISO PLAINTIFFS’ LETTER BRIEF RE: PIBW POOL
                                                                                CASE NO. 4:22-MD-03047-YGR
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